ADDITIONAL EXCERPTS FROM
PLAINTIFF’S DEPOSITION

Case 1:21-cv-00814-CCE-JLW Document 58-1 Filed 06/28/23 Page 1 of 4
IN THE UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF NORTH CAROLINA
Civil Action No.: 1:21-cv-814

LARISSA HARPER HAIRGROVE,
Plaintiff,
Vs.
CITY OF SALISBURY, DOWNTOWN
SALISBURY INC., and LANE
BAILEY, in his individual and

official capacity,

Defendants.

Nm et et ee et ee ee ee ee

DEPOSITION
OF
LARISSA HARPER HAIRGROVE

TAKEN AT THE OFFICES OF:

GATEWAY BUILDING

204 EAST INNES STREET, SUITE 200
2ND FLOOR CONFERENCE ROOM
SALISBURY, NC 28144

02-22-2023
9:54 O'CLOCK A.M.

Gretchen Wells
Court Reporter

Chaplin & Associates
132 Joe Knox Ave, Suite 100-G
Mooresville, NC 28117
(704) 606-1434 | (336) 992-1954 | (919) 649-4444

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A Chaplin & Associates

Larissa Harper Hairgrove Page 172

1 here in this lawsuit?

2 A. I think that he could see the pressure I was

3 under from both sides, as a DSI board member and

4 promotions chair. He spent a lot of time with me and
5 Latoya, and prior to Latoya, Katelin Rice. And he

6 went to almost every committee meeting other than his
7 own. And I believe he understood that I was under

8 pressure.

9 And he went to some point towards the --

10 before I was constructively discharged, I'1l call it,

11 since one of the board members told me to look that up

12 and see what that's all about because that's -- kind
13 of seemed what was going on. He went and talked to

14 Lane and Zack about kind of how he saw things.

15 Q. When did he do this?

16 A. It was probably in March or April, maybe
17 May.

18 Q. So the spring of 2020?

19 A. Yes.

20 Q. Would that be fair?

21 A. Uh-huh (yes).

22 Q. Okay. And how do you know that he went and

23 talked to Zack and Lane?

24 A. Because he communicated that to me.
25 Q. He came back and told you, "I talked to Zack
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Larissa Harper Hairgrove Page 260
1 A. Right.
2 Q. Okay. And so ---
3 A. I think I heard that right. I'm sorry. I'm

4 waning. I'm starting to wane. You all are probably

5 too, but...

6 Q. You didn't have Outlook -- access to Outlook
7 calendars for the last year of your employment when

8 you created that log of hours you say you're due?

9 A. After I was constructively discharged, I did
10 not have access.

11 Q. Okay. So you ---

12 A. Only whenever I worked for Salisbury did I
13 have access.

14 Q. Okay. So what I understand you're saying is

15 that you used emails and text messages to create that

16 log?
17 A. To -- yeah, identify the times I was ---
18 Q. Okay. And you created that on your own

19 computer ---

20 A. Yeah.

21 Q. --- at home?

22 A. Uh-huh (yes).

23 Q. And it was a Word document?

24 A. Yes.

25 Q. Okay. And you say that you start -- so when
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